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 Governor Ron DeSantis Awards $11 Million to Further Career and Apprenticeship Opportunities Florida Deploys State All-Hazards Incident
 Management Team to Support Tornado Outbreak Response in Kentucky

 Governor DeSantis Announces Legislative Proposal to Stop W.O.K.E. Activism and Critical
 Race Theory in Schools and Corporations
 On December 15, 2021, in News Releases, by Staff

 WILDWOOD, Fla. – Today, Governor Ron DeSantis announced the Stop the Wrongs to Our Kids and Employees (W.O.K.E.) Act, a legislative
 proposal that will give businesses, employees, children and families tools to fight back against woke indoctrination. The Stop W.O.K.E. Act will be
 the strongest legislation of its kind in the nation and will take on both corporate wokeness and Critical Race Theory. Today’s proposal builds on
 actions Governor DeSantis has already taken to ban Critical Race Theory and the New York Times’ 1619 project in Florida’s schools. For more
 information about the Stop W.O.K.E. Act, click here.

 “In Florida we are taking a stand against the state-sanctioned racism that is critical race theory,” said Governor Ron DeSantis. “We won’t allow
 Florida tax dollars to be spent teaching kids to hate our country or to hate each other. We also have a responsibility to ensure that parents have the
 means to vindicate their rights when it comes to enforcing state standards. Finally, we must protect Florida workers against the hostile work
 environment that is created when large corporations force their employees to endure CRT-inspired ‘training’ and indoctrination.”

 “As the daughter of Cuban exiles who fled from Marxist ideology, I am proud to stand alongside Governor DeSantis and support this proposed
 legislation that will put an end to wokeness that is permeating our schools and workforce,” said Lieutenant Governor Jeanette Nuñez. “This
 important legislation gives students and employees the resources they need to fight back against discrimination, critical race theory and
 indoctrination. I’m proud to stand alongside the Governor not only of the free state of Florida but the woke-free state of Florida.”

 “Under Governor DeSantis’ leadership, Florida has very publicly adopted new state education standards for English Language Arts, Mathematics,
 Civics, Character Education and more, and we are modernizing students’ curriculum and lesson plans to match Florida’s new world-class education
 standards,” said Commissioner of Education Richard Corcoran. “However, our classrooms, students and even teachers are under constant threat
 by Critical Race Theory advocates who are attempting to manipulate classroom content into a means to impose one’s values on students, when
 instead schools should be empowering students with great, historically accurate knowledge and giving those students and their families the freedom
 to draw their own conclusions.”

 “What I have been inspired by the last year is that there is a new group of people emerging and asserting the authority of the American people: these
 are American parents,” said Chris Rufo, Senior Fellow and Director of the Initiative on Critical Race Theory, The Manhattan Institute. “It is
 one thing to have critical race theory in Universities; you can ignore it. It is one thing to have critical race theory in the federal bureaucracy. But the
 fact is, in the last year they have accelerated Critical Race Theory in K-12 public schools and they have done something that no government should
 do, step between parent and child. Governor Ron DeSantis is not only protecting all of the employees and students in the state of Florida. He is
 providing a model for every state in the United States of America. Critical Race Theory is wrong; it offers nothing to improve the lives of anyone of
 any racial background.”

 “I am happy to be working with Governor Ron DeSantis on education, which is one of the most important issues facing our country,” said Dr.
 Matthew Spalding, Kirby Professor in Constitutional Government, Hillsdale College and Dean of the Van Andel Graduate School of
 Government, Hillsdale College’s Washington, DC., Campus. “I believe we are on the cusp of a moment of which the idea of education as an
 issue is re-aligning. It is no longer a question of budget or policy; it is about returning it to its rightful place in the formation of good citizens. We
 must teach our students honest and true history of America that is unifying and inspiring. I commend the Governor and Commissioner Corcoran for
 doing so.”

 “Our schools are meant to be safe, fun and about learning, but teaching Critical Race Theory breeds division. There was so much being taught I had
 overlooked in the school system for so long,” said Laly Jimenez-Hincapie. “My father was a political prisoner in Cuba who fled after his time
 served. I used to laugh at his fear of communism infiltrating our country. This is the land of the free and home of the brave. Communism will never
 come into this country. American history is being replaced by CRT. Manipulated versions of this theory are a direct attack on the emotional
 wellbeing of our children. Our children deserve to know this history and be proud of it, land of the free and home of the brave.”
https://www.flgov.com/2021/12/15/governor-desantis-announces-legislative-proposal-to-stop-w-o-k-e-activism-and-critical-race-theory-in-schools-and-c… 1/3
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 “We need to get back to the basics: reading, math, arithmetic. CRT is not something I agree with at all, especially as a person of color,” said
 Lacaysha Howell, mother of three. “Kids are coming home telling parents they are learning things that are incomprehensible to them. I am biracial
 and my three kids are biracial. This [CRT] is not what we need to be teaching in our schools. I want to continue to keep my kids in public school,
 but their educators need to teach them the basics.”



 National examples of Critical Race Theory include:

        A Philadelphia elementary school forced fifth-graders to celebrate “Black communism” and simulated a Black Power rally to “free Angela
        Davis” from prison. At this school, 87 percent of students will fail to achieve basic literacy by graduation. More here.
        Seattle Public Schools told teachers that the education system is guilty of “spirit murder” against black children and that white teachers must
        “bankrupt [their] privilege in acknowledgement of [their] thieved inheritance.” More here.
        San Diego Public Schools accused white teachers of being colonizers on stolen Native American land and told them “you are racist” and “you
        are upholding racist ideas, structures, and policies.” They recommended that the teachers undergo “antiracist therapy.” More here.
        An elementary school in Cupertino, California forced third-graders to deconstruct their racial identities, then rank themselves according to
        their “power and privilege.” More here.
        A middle school in Springfield, Missouri, forced teachers to locate themselves on an “oppression matrix,” claiming that white heterosexual
        Protestant males are inherently oppressors and must atone for their “covert white supremacy.” More here.
        Buffalo Public Schools taught students that “all white people” perpetuate systemic racism and forced kindergarteners to watch a video of dead
        black children warning them about “racist police and state-sanctioned violence” who might kill them at any time. More here.
        The Arizona Department of Education created an “equity” toolkit claiming that babies show the first signs of racism at three months old and
        that white children become ”strongly biased in favor of whiteness” by age five. More here.



 National Examples of woke corporate trainings include:


        Raytheon, the nation’s second-largest defense contractor, has launched a Critical Race Theory program that encourages white employees to
        confront their “privilege,” reject the principle of “equality,” and “defund the police.” More here.
        Bank of America teaches that the United States is a system of “white supremacy,” encourages employees to become “woke at work,” and
        teaches that white toddlers “develop racial biases by ages 3-5.” More here.
        A Google employee program claims that America is a “system of white supremacy” and that all Americans are “raised to be racist.” More
        here.



 In June, Governor DeSantis joined the State Board of Education meeting to discuss the importance of keeping Critical Race Theory out of the
 classroom. Find that announcement here.



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